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From: Hawk, Jon <jhawk@mwe.com>
Sent: Wednesday, July 10, 2024 10:30 AM
To: Jason Mays <jmays@mnrlawfirm.com>
Cc: Joseph B. Shumofsky <jshumofsky@sillscummis.com>
Subject: RE: Agdal v. Danis - subpoena to X Corp.

*** External Email ***


Jason, Joseph,

As I explained, we’re being transparent here. I would appreciate, however, if your emails like this that
purport to confirm what we discussed provided all relevant context so that they set forth a complete
picture of the discussions. The below omits much of what I said that provides important context around
what we discussed, our concerns, and how I offered to help navigate those to keep moving this forward
in the direction you seek. I continue to think that completeness is the most productive way forward:

#1. That’s my understanding. I noted during our call that I previously pointed you (on an earlier call) to a
public-facing Help Center page. I noted it again during our call yesterday. And I agreed yesterday to send
you the link from that public-facing Help Cetner page on X. Here’s the link to a public-facing Help Page I
described: https://help.x.com/en/managing-your-account/how-to-download-your-x-archive. Another
public-facing link on the Help Page is here: https://help.x.com/en/managing-your-account/accessing-
your-x-data.

#2: I noted on our call yesterday (as during our earlier call) that the public-facing Help Center pages
describe what should be available to a user via download. See above links please.

#3: I agreed to carry the information you provide (re emails to X about purported account suspensions)
back to X and request that they use it to see what else they can learn.

#4 I explained several times during our call that X takes 1A protections very seriously. I noted, as I did on
our previous call, that there is significant case law establishing that anonymous speech is protected by
1A and that, to unmask an anonymous user, the person seeking to obtain that data must make a prima
facie showing of their claim. I also noted that platforms have an established right to assert an
anonymous user’s 1A concern, including in response to subpoenas, and I provided the rationale behind
that as set forth in case law. I explained that X’s general position is that it is not in a position—because it
is not a court—to assess if someone has made a prima facie showing sufficient to satisfy the 1A
safeguards. I explained that, as a matter of general course, X asks that parties issuing subpoenas that
seek to unmask anonymous users, and thus implicate 1A concerns, obtain a court order. I clarified how X
may respond to such a motion in what I think is a constructive way (subject to the motion’s showings).

I noted that: (i) the SCA is different from these 1A concerns because the SCA is geared towards closing
perceived gaps in search and seizure protections (4A), not 1A concerns, thus putting the issue we’re
discussing here outside the SCA provisions you cited in your previous email; and (ii) we appear here to
be in scenario where Danis denies the third account is his, such that it seems you are seeking to unmask
an anonymous user and implicating 1A concerns that we need to navigate.
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As you said you were unfamiliar with this area of the law, I offered to send you a sample (see attached)
of a motion citing 1A case law regarding the safeguards around unmasking an anonymous user, and a
sample (also attached) of the type of response that X has submitted to such a motion when it appears
the motion makes a prima facie showing and X defers to the Court to make a ruling.

Finally, in light of the above, you agreed to review the case law I sent. In parallel, you asked me to
request of X if it will divert from its general position in terms of requiring a court order to unmask an
anonymous user by producing BSI, and produce such BSI here without a court order / without a finding
that the 1A safeguards have been met. I’ll make that request and let you know what X says.

JON HAWK
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